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           5
                Attorney for Defendant,
           6    ANDREW CONWAY

           7
                                           IN THE UNITED STATES DISTRICT COURT
           8                             FOR THE EASTERN DISTRICT OF CALIFORNIA

           9

          10    UNITED STATES OF AMERICA,                        CASE NO. 2:06-CR-00476-MCE

          11                Plaintiff,                           STIPULATION AND ORDER

          12         vs.                                         DATE: December 4, 2008
                                                                 TIME: 9:00 AM
          13    ANDREW CONWAY,                                   JUDGE: Hon. Morrison England

          14                Defendant.

          15

          16           It is hereby stipulated and agreed to between the United States of America through Jason

          17    Hitt, Assistant U.S. Attorney, and defendant Andrew Conway, by and through his attorney, Dan

          18    Koukol, that the status conference of December 4, 2008 be vacated and that a status conference

          19    be set for January 15, 2009 at 9:00 AM.

          20           This continuance is being requested because defense counsel needs additional time to

          21    discuss the plea offer the defendant.

          22           //

          23           //

          24           //

          25           //
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           1           The parties request that the speedy trial time is excluded from the date of this order

           2    through the date of the status conference set for January 15, 2009 at 9:00 AM pursuant to 18

           3    U.S.C. § 3161(h)(8)(B)(iv) [reasonable time to prepare] (Local Code T4).

           4
                DATED: DECEMBER 3, 2008                    Respectfully submitted,
           5

           6                                               /s/ DAN KOUKOL
                                                           _________________________________
           7                                               DAN KOUKOL
                                                           Attorney for defendant Andrew Conway
           8

           9
                DATED: DECEMBER 3, 2008                    Respectfully submitted,
          10

          11                                               /s/ DAN KOUKOL FOR
                                                           _________________________________
          12                                               Jason Hitt
                                                           Assistant U.S. Attorney
          13

          14           IT IS SO ORDERED.

          15    DATED: December 5, 2008

          16                                    __________________________________
                                                MORRISON C. ENGLAND, JR
          17                                    UNITED STATES DISTRICT JUDGE

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